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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Karen
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Corbin
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3222
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Karen Corbin                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 1840 Longfellow Court
                                 Berkeley, IL 60163
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cook
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Karen Corbin                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.       Debtor filed for bankruptcy on December 5, 2011, Northern District of Illinois Case Number 11-48948. Debtor
     bankruptcy within the                    received a discharge, entered by Judge Goldgar on February 8, 2021 (see docket no. 170).
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Karen Corbin                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                                Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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Debtor 1    Karen Corbin                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Karen Corbin                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                 Karen Corbin                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on                                                       Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Karen Corbin                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                                                                                   Date
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert R. Benjamin
                                Printed name

                                Golan Christie Taglia LLP
                                Firm name

                                70 W. Madison St., Suite 1500
                                Chicago, IL 60602
                                Number, Street, City, State & ZIP Code

                                Contact phone     (312) 263-2300                             Email address         rrbenjamin@gct.law
                                0170429 IL
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Karen Corbin
                              First Name               Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name               Middle Name                      Last Name


 United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                    Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                              Unsecured claim
 1                                                           What is the nature of the claim?                  5345 W. Madison St.              $723,758.47
                                                                                                               Chicago, IL 60644
                                                                                                               Cook Cty.
                                                                                                               Property consists of
                                                                                                               following addresses:
                                                                                                               5314 W. Madison St.,
                                                                                                               5322 W. Madison St.,
                                                                                                               5323 W. Madiso
              VAK M25 Fund, LLC
              224 East Jericho Turnpike                      As of the date you file, the claim is: Check all that apply
              South Huntington, NY 11746                             Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                     None of the above apply

                                                             Does the creditor have a lien on your property?

                                                                       No
              Contact                                                  Yes. Total claim (secured and unsecured)                       $1,723,788.47
                                                                             Value of security:                                    - $1,000,030.00
              Contact phone                                                  Unsecured claim                                          $723,758.47


 Part 2:        Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X      /s/ Karen Corbin                                                            X
        Karen Corbin                                                                    Signature of Debtor 2


B104 (Official Form 104)                     For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1
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 Debtor 1          Karen Corbin                                                      Case number (if known)

       Signature of Debtor 1


       Date      July 6, 2022                                                Date




B 104 (Official Form 104)         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims               Page 2
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Fill in this information to identify your case:

Debtor 1                   Karen Corbin
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $         3,359,318.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            264,430.27

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $         3,623,748.27

Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $         2,130,888.42

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                     0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $                     0.00


                                                                                                                                    Your total liabilities $              2,130,888.42


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................               $             24,838.82

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $             20,117.64

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1    Karen Corbin                                                                Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1                    Karen Corbin
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.
       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1837 Longfellow Court                                                          Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building              Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home                Current value of the         Current value of the
       Berkeley                          IL        60163-0000                         Land                                       entire property?             portion you own?
       City                              State              ZIP Code                  Investment property                               $521,846.00                  $521,846.00
                                                                                      Timeshare                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
       Cook                                                                           Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




Official Form 106A/B                                                                 Schedule A/B: Property                                                                    page 1
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Debtor 1        Karen Corbin                                                                                             Case number (if known)

      If you own or have more than one, list here:
1.2                                                                     What is the property? Check all that apply
      1840 Longfellow Court                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home                     Current value of the         Current value of the
      Berkeley                          IL        60163-0000                   Land                                            entire property?             portion you own?
      City                              State              ZIP Code            Investment property                                    $559,242.00                  $559,242.00
                                                                               Timeshare                                       Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
      Cook                                                                     Debtor 2 only
      County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




      If you own or have more than one, list here:
1.3                                                                     What is the property? Check all that apply
      1841 Longfellow Court                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home                     Current value of the         Current value of the
      Berkeley                          IL        60163-0000                   Land                                            entire property?             portion you own?
      City                              State              ZIP Code            Investment property                                    $521,500.00                  $521,500.00
                                                                               Timeshare                                       Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
      Cook                                                                     Debtor 2 only
      County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                            page 2
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Debtor 1        Karen Corbin                                                                                             Case number (if known)

      If you own or have more than one, list here:
1.4                                                                     What is the property? Check all that apply
      2609 Spring Hill Drive                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home                     Current value of the         Current value of the
      Kissimmee                         FL        34743-0000                   Land                                            entire property?             portion you own?
      City                              State              ZIP Code            Investment property                                    $357,600.00                  $357,600.00
                                                                               Timeshare                                       Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
      Osceola                                                                  Debtor 2 only
      County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




      If you own or have more than one, list here:
1.5                                                                     What is the property? Check all that apply
      2613 Spring Hill Drive                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                       the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home                     Current value of the         Current value of the
      Kissimmee                         FL        34743-0000                   Land                                            entire property?             portion you own?
      City                              State              ZIP Code            Investment property                                    $399,100.00                  $399,100.00
                                                                               Timeshare                                       Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
      Osceola                                                                  Debtor 2 only
      County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:




Official Form 106A/B                                                       Schedule A/B: Property                                                                            page 3
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Debtor 1          Karen Corbin                                                                                                  Case number (if known)

        If you own or have more than one, list here:
1.6                                                                          What is the property? Check all that apply
        5345 W. Madison St.                                                           Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home                     Current value of the          Current value of the
        Chicago                           IL        60644-0000                        Land                                            entire property?              portion you own?
        City                              State              ZIP Code                 Investment property                                 $1,000,030.00                  $1,000,030.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other    Single      Use Commercial             (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                                                                      Beneficiary of First American Bank
                                                                                      Debtor 1 only                                   Trust Number 95-1-6892
        Cook                                                                          Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Property consists of following addresses: 5314 W. Madison St., 5322 W.
                                                                             Madison St., 5323 W. Madison St., 5333 W. Madison St., 5339 W. Madison
                                                                             St., 5345 W. Madison St.


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                            $3,359,318.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Lexus                                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        ES350                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2016                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                                             Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another

                                                                           Check if this is community property
                                                                                                                                               $27,600.00                    $27,600.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                              $27,600.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                                 Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured

Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 4
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Debtor 1      Karen Corbin                                                                          Case number (if known)

                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
      No
      Yes. Describe.....

                               Household Goods and Furnishings                                                                                   $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Electronics                                                                                                       $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothes                                                                                                             $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Jewelry                                                                                                           $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $6,300.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
Official Form 106A/B                                         Schedule A/B: Property                                                                   page 5
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Debtor 1     Karen Corbin                                                                          Case number (if known)

                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

                                                                                                       Cash                                     $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes........................                                    Institution name:


                               17.1.   Savings x0012             Chase                                                                       $32,897.74



                               17.2.   Checking x2550            Chase                                                                        $5,826.43


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................       Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                         % of ownership:

                                  Corbin Colonial Funeral Chapels, Inc.                                 100%        %                      $100,000.00


                                  Corbin Venture #1 LLC                                                 100%        %                              $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                Institution name:

                               Pension                           Delta Airlines Retirement Account                                              $910.10


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............   Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
Official Form 106A/B                                     Schedule A/B: Property                                                                    page 6
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Debtor 1      Karen Corbin                                                                           Case number (if known)

   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

                                       Driver's license                                                                                                 $0.00


Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                Expected 2021 federal tax refund                          Federal                               $26,082.00




                                                Expected 2021 state tax refund                            State                                   $8,026.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                           Beneficiary:                              Surrender or refund
                                                                                                                                     value:

                                   State Farm $100,000 Whole Life                           Claressa Corbin                                     $56,688.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 7
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Debtor 1         Karen Corbin                                                                                                          Case number (if known)


                                                            Interest of deceased spouse in property. See Cook County
                                                            probate case no. 2021 P 004236. However, transfers are
                                                            reflected in Schedule B.                                                                                 See schedule B


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................           $230,530.27


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
       Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
      No
      Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                    $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................           $3,359,318.00
56. Part 2: Total vehicles, line 5                                                                          $27,600.00
57. Part 3: Total personal and household items, line 15                                                      $6,300.00
58. Part 4: Total financial assets, line 36                                                                $230,530.27
59. Part 5: Total business-related property, line 45                                                             $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
61. Part 7: Total other property not listed, line 54                                             +               $0.00

62. Total personal property. Add lines 56 through 61...                                                    $264,430.27               Copy personal property total        $264,430.27

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $3,623,748.27




Official Form 106A/B                                                              Schedule A/B: Property                                                                        page 8
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Fill in this information to identify your case:

Debtor 1                  Karen Corbin
                          First Name                 Middle Name                Last Name

Debtor 2
(Spouse if, filing)       First Name                 Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1840 Longfellow Court Berkeley, IL                     $559,242.00                                $15,000.00      735 ILCS 5/12-901
     60163 Cook County
     Line from Schedule A/B: 1.2                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     2016 Lexus ES350                                         $27,600.00                                 $2,400.00     735 ILCS 5/12-1001(c)
     Line from Schedule A/B: 3.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Clothes                                                       $300.00                                 $300.00     735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Cash                                                          $100.00                                 $100.00     735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Checking x2550: Chase                                     $5,826.43                                 $3,900.00     735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.2
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Karen Corbin                                                                       Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Pension: Delta Airlines Retirement                         $910.10                          entire pension          735 ILCS 5/12-1006
    Account
    Line from Schedule A/B: 21.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                   Karen Corbin
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Firstkey Mortgage LLC                    Describe the property that secures the claim:               $147,360.00               $521,846.00                     $0.00
        Creditor's Name                          1837 Longfellow Court Berkeley, IL
                                                 60163 Cook County
        900 Third Avenue, 5th
                                                 As of the date you file, the claim is: Check all that
        Floor                                    apply.
        New York, NY 10022                           Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          12/3/2007                 Last 4 digits of account number        1500




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
                 Case 22-07509                    Doc 1            Filed 07/06/22 Entered 07/06/22 15:59:11                               Desc Main
                                                                    Document     Page 23 of 71
Debtor 1 Karen Corbin                                                                                        Case number (if known)
              First Name                  Middle Name                      Last Name


2.2     New Penn Financial, LLC                    Describe the property that secures the claim:                   $208,820.00        $521,500.00        $0.00
        Creditor's Name                            1841 Longfellow Court Berkeley, IL
                                                   60163 Cook County
        55 Beattie Place, Suite
                                                   As of the date you file, the claim is: Check all that
        110 MS#001                                 apply.
        Greenville, SC 29601                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          2/13/2009                   Last 4 digits of account number         2175

2.3     State Farm Insurance                       Describe the property that secures the claim:                    $50,919.95         $56,688.00        $0.00
        Creditor's Name                            State Farm $100,000 Whole Life
                                                   Beneficiary: Claressa Corbin
        PO Box 2364
                                                   As of the date you file, the claim is: Check all that
        Bloomington, IL                            apply.
        61702-2364                                      Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number         1952




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
                 Case 22-07509                    Doc 1            Filed 07/06/22 Entered 07/06/22 15:59:11                                         Desc Main
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Debtor 1 Karen Corbin                                                                                        Case number (if known)
              First Name                  Middle Name                      Last Name


2.4     VAK M25 Fund, LLC                          Describe the property that secures the claim:                 $1,723,788.47             $1,000,030.00         $723,758.47
        Creditor's Name                            5345 W. Madison St. Chicago, IL
                                                   60644 Cook County
                                                   Property consists of following
                                                   addresses: 5314 W. Madison St.,
                                                   5322 W. Madison St., 5323 W.
                                                   Madison St., 5333 W. Madison St.,
        224 East Jericho                           5339 W. Madison St., 5345 W.
        Turnpike                                   Madison St.
                                                   As of the date you file, the claim is: Check all that
        South Huntington, NY                       apply.
        11746                                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          4/3/2008                    Last 4 digits of account number         8614


  Add the dollar value of your entries in Column A on this page. Write that number here:                                 $2,130,888.42
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                $2,130,888.42

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.4
           FCI Lender Services, Inc.
           PO Box 27370                                                                              Last 4 digits of account number   8614
           Anaheim, CA 92809-0112

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.4
           McCalla Raymer Liebert Pierce, LLC
           1 N. Dearborn St., Suite 1200                                                             Last 4 digits of account number
           Chicago, IL 60602

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Select Portfolio Servicing, Inc.
           PO Box 65450                                                                              Last 4 digits of account number   1500
           Salt Lake City, UT 84165-0450

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.2
           Shellpoint Mortgage Servicing
           P.O. Box 10826                                                                            Last 4 digits of account number   2175
           Greenville, SC 29603-0826




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                 page 3 of 3
                      Case 22-07509                 Doc 1         Filed 07/06/22 Entered 07/06/22 15:59:11                              Desc Main
                                                                   Document     Page 25 of 71
Fill in this information to identify your case:

Debtor 1                      Karen Corbin
                              First Name                     Middle Name                     Last Name

Debtor 2
(Spouse if, filing)           First Name                     Middle Name                     Last Name


United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                                  Check if this is an
                                                                                                                                            amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.   Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

Part 3:        List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:        Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                        Total Claim
                        6a.      Domestic support obligations                                              6a.      $                   0.00
Total
claims
from Part 1             6b.      Taxes and certain other debts you owe the government                      6b.      $                   0.00
                        6c.      Claims for death or personal injury while you were intoxicated            6c.      $                   0.00
                        6d.      Other. Add all other priority unsecured claims. Write that amount here.   6d.      $                   0.00

                        6e.      Total Priority. Add lines 6a through 6d.                                  6e.      $                   0.00

                                                                                                                        Total Claim
                        6f.      Student loans                                                             6f.      $                   0.00
Total
claims
from Part 2             6g.      Obligations arising out of a separation agreement or divorce that
                                 you did not report as priority claims                                     6g.      $                   0.00
                        6h.      Debts to pension or profit-sharing plans, and other similar debts         6h.      $                   0.00
                        6i.      Other. Add all other nonpriority unsecured claims. Write that amount      6i.
                                 here.                                                                              $                   0.00

                        6j.      Total Nonpriority. Add lines 6f through 6i.                               6j.      $                   0.00




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 1 of 1
                                                                                                            24966
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Fill in this information to identify your case:

Debtor 1                  Karen Corbin
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Corbin Colonial Funeral Chapels Inc                                        Non-Residential lease of real property at 5345 W.
              c/o Daniel Olswang, Registered Agt.                                        Madison St., Chicago, IL 60644 for $6,000.00/month
              400 S. Green St., Suite H                                                  through 6/1/2025.
              Chicago, IL 60607




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Karen Corbin
                           First Name                           Middle Name       Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name       Last Name


United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Angela Corbin                                                                        Schedule D, line   2.4
               1840 Longfellow Court                                                                Schedule E/F, line
               Berkeley, IL 60163
                                                                                                    Schedule G
                                                                                                  VAK M25 Fund, LLC



   3.2         Arnell Corbin                                                                        Schedule D, line   2.4
               1840 Longfellow Court                                                                Schedule E/F, line
               Berkeley, IL 60163
                                                                                                    Schedule G
                                                                                                  VAK M25 Fund, LLC



   3.3         Bobby Martell Pugh                                                                   Schedule D, line   2.4
               1837 Longfellow Court                                                                Schedule E/F, line
               Berkeley, IL 60163
                                                                                                    Schedule G
                                                                                                  VAK M25 Fund, LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 1 of 2
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Debtor 1 Karen Corbin                                                      Case number (if known)


         Additional Page to List More Codebtors
         Column 1: Your codebtor                                                Column 2: The creditor to whom you owe the debt
                                                                                Check all schedules that apply:
  3.4    Claressa Corbin Randle                                                   Schedule D, line   2.4
         1841 Longfellow Court                                                    Schedule E/F, line
         Berkeley, IL 60163
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC



  3.5    First American Bank                                                      Schedule D, line   2.4
         218 W. Main Street                                                       Schedule E/F, line
         West Dundee, IL 60118
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC



  3.6    Huntington National Bank                                                 Schedule D, line   2.4
         41 South High Street                                                     Schedule E/F, line
         Columbus, OH 43287
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC



  3.7    John Lydon                                                               Schedule D, line   2.4
         c/o Gomberg Sharfman P.C.                                                Schedule E/F, line
         208 S. LaSalle St., Suite 1410
                                                                                  Schedule G
         Chicago, IL 60604
                                                                                VAK M25 Fund, LLC



  3.8    Kimberly A. Corbin                                                       Schedule D, line   2.4
         687 Meadowdale Dr.                                                       Schedule E/F, line
         Romeoville, IL 60446
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC



  3.9    Loren Corbin                                                             Schedule D, line   2.4
         1840 Longfellow Court                                                    Schedule E/F, line
         Berkeley, IL 60163
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC



  3.10   Syreeta Corbin                                                           Schedule D, line   2.4
         1837 Longfellow Court                                                    Schedule E/F, line
         Berkeley, IL 60163
                                                                                  Schedule G
                                                                                VAK M25 Fund, LLC




Official Form 106H                                          Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Karen Corbin

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                  Employed                                  Employed
                                             Employment status
       attach a separate page with                                     Not employed                              Not employed
       information about additional
       employers.                            Occupation            President
       Include part-time, seasonal, or                             Corbin Colonial Funeral
       self-employed work.                   Employer's name       Chapels Inc
       Occupation may include student
                                             Employer's address
       or homemaker, if it applies.                                5345 W. Madison St.
                                                                   Chicago, IL 60644

                                             How long employed there?         38 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       13,541.67      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     13,541.67            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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                                                      Document     Page 30 of 71

Debtor 1   Karen Corbin                                                                          Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      13,541.67      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        4,213.27     $                N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $            0.00     $                N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $            0.00     $                N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $            0.00     $                N/A
     5e.    Insurance                                                                     5e.        $            0.00     $                N/A
     5f.    Domestic support obligations                                                  5f.        $            0.00     $                N/A
     5g.    Union dues                                                                    5g.        $            0.00     $                N/A
     5h.    Other deductions. Specify:                                                    5h.+       $            0.00 +   $                N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            4,213.27     $                N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $            9,328.40     $                N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm *See 8h
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $                N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $            0.00     $                N/A
     8d. Unemployment compensation                                                        8d.        $            0.00     $                N/A
     8e. Social Security                                                                  8e.        $        2,641.60     $                N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $           0.00      $                N/A
     8g. Pension or retirement income                                                     8g.        $         910.10      $                N/A
                                           1837 Longfellow mortgage
                                           payment from Syreeta & Martel
     8h.    Other monthly income. Specify: Pugh                          8h.+ $                               2,769.15 + $                  N/A
            1841 Longfellow mortgage payment from C. Randle & D. Randle       $                               3,189.57   $                  N/A
            5345 W. Madison rent from Corbin Colonial Funeral Chapel          $                               6,000.00   $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          15,510.42      $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              24,838.82 + $           N/A = $          24,838.82
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         24,838.82
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Karen Corbin                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                          1,260.70
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            196.58
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1    Karen Corbin                                                                   Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                        6a.   $                   270.00
      6b. Water, sewer, garbage collection                                                      6b.   $                   175.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                        6c.   $                   397.00
      6d. Other. Specify:                                                                       6d.   $                     0.00
7.    Food and housekeeping supplies                                                             7.   $                   600.00
8.    Childcare and children’s education costs                                                   8.   $                     0.00
9.    Clothing, laundry, and dry cleaning                                                        9.   $                   400.00
10.   Personal care products and services                                                       10.   $                   200.00
11.   Medical and dental expenses                                                               11.   $                   200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                              12. $                      350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                        13. $                        0.00
14.   Charitable contributions and religious donations                                          14. $                    1,300.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                      15a.   $                   134.50
      15b. Health insurance                                                                    15b.   $                   250.00
      15c. Vehicle insurance                                                                   15c.   $                   110.00
      15d. Other insurance. Specify:                                                           15d.   $                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                  16. $                        0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                          17a.   $                      0.00
      17b. Car payments for Vehicle 2                                                          17b.   $                      0.00
      17c. Other. Specify: Mortgage Payment (1841) - Inc. R.E. Tax & Ins.                      17c.   $                  3,189.57
      17d. Other. Specify: Mortgage Payment (1837) - Inc. R.E. Tax & Ins.                      17d.   $                  2,769.15
            Osceola County Homeowners Assoc. (2609)                                                   $                     26.67
            Utilities (2609)                                                                          $                    194.00
            Telephone/Cable (2609)                                                                    $                    289.00
            Water (2609)                                                                              $                     86.00
            Osceola County Homeowners Assoc. (2613)                                                   $                     26.67
            Utilities (2613)                                                                          $                    212.00
            Telephone/Cable (2613)                                                                    $                    251.00
            Water (2613)                                                                              $                     36.00
            ADT Security System (2609 & 2613)                                                         $                    119.00
            Payment to VAK M25, LLC                                                                   $                  6,000.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                             0.00
19. Other payments you make to support others who do not live with you.                         $                            0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                             0.00
    20b. Real estate taxes                                                               20b. $                           571.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                           403.80
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                             0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                             0.00
21. Other: Specify:                                                                        21. +$                           0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                          $           20,117.64
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                     $           20,117.64
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                          23a. $                   24,838.82
    23b. Copy your monthly expenses from line 22c above.                                       23b. -$                  20,117.64

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                              23c. $                    4,721.18




Official Form 106J                                           Schedule J: Your Expenses                                              page 2
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Debtor 1    Karen Corbin                                                                              Case number (if known)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
     modification to the terms of your mortgage?
        No.
        Yes.             Explain here:




Official Form 106J                                                 Schedule J: Your Expenses                                                                     page 3
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Fill in this information to identify your case:

Debtor 1                    Karen Corbin
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Karen Corbin                                                  X
             Karen Corbin                                                      Signature of Debtor 2
             Signature of Debtor 1

             Date       July 6, 2022                                           Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Karen Corbin
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $81,250.00           Wages, commissions,
the date you filed for bankruptcy:                                                                            bonuses, tips
                                               bonuses, tips

                                                  Operating a business                                           Operating a business




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Debtor 1     Karen Corbin                                                                        Case number (if known)



                                         Debtor 1                                                        Debtor 2
                                         Sources of income                Gross income                   Sources of income           Gross income
                                         Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                          exclusions)                                                and exclusions)

For last calendar year:                     Wages, commissions,                      $130,250.00           Wages, commissions,
(January 1 to December 31, 2021 )                                                                        bonuses, tips
                                         bonuses, tips

                                             Operating a business                                           Operating a business


                                           Wages, commissions,                      $-122,043.00           Wages, commissions,
                                         bonuses, tips                                                   bonuses, tips

                                             Operating a business                                           Operating a business


For the calendar year before that:          Wages, commissions,                       $71,700.00           Wages, commissions,
(January 1 to December 31, 2020 )                                                                        bonuses, tips
                                         bonuses, tips

                                             Operating a business                                           Operating a business


                                           Wages, commissions,                          $1,053.00          Wages, commissions,
                                         bonuses, tips                                                   bonuses, tips

                                             Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                         Debtor 1                                                        Debtor 2
                                         Sources of income                Gross income from              Sources of income           Gross income
                                         Describe below.                  each source                    Describe below.             (before deductions
                                                                          (before deductions and                                     and exclusions)
                                                                          exclusions)
From January 1 of current year until Pensions and                                       $5,460.60
the date you filed for bankruptcy:   Annuities

                                         Social Security                              $15,849.60
                                         Benefits

For last calendar year:                  Interest / Dividends                           $2,085.00
(January 1 to December 31, 2021 )


                                         Social Security                                $8,005.00
                                         Benefits

                                         Pensions and                                 $11,452.00
                                         Annuities

For the calendar year before that:       Interest / Dividends                           $2,025.00
(January 1 to December 31, 2020 )


                                         Pensions and                                 $11,452.00
                                         Annuities



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Debtor 1     Karen Corbin                                                                             Case number (if known)



                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income            Gross income
                                                Describe below.                each source                    Describe below.              (before deductions
                                                                               (before deductions and                                      and exclusions)
                                                                               exclusions)
                                                Social Security                            $27,536.00
                                                Benefits


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number


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Debtor 1     Karen Corbin                                                                                Case number (if known)



      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      VAK M25 Fund, LLC v. John                              Foreclosure                  Circuit Courty of Cook                      Pending
      Lydon, as Special Representative                                                    County                                      On appeal
      of the Estate of Randy C. Corbin, et
                                                                                                                                      Concluded
      al.
      2019 CH 9800


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)
      Rhema Word Church                                            Cash                                                     July 2020-July              $20,844.00
      5460 W. Ohio St.                                                                                                      2022
      Chicago, IL 60644




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Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and         Describe any insurance coverage for the loss                       Date of your       Value of property
      how the loss occurred                                                                                         loss                            lost
                                                 Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Golan Christie Taglia LLP                            Attorney Fees                                            7/1/2022                 $5,000.00
      70 W. Madison St., Suite 1500
      Chicago, IL 60602
      rrbenjamin@gct.law


      Debt Education and Certification Fdn.                Credit Counseling                                        7/5/2022                     $24.00



      Golan Christie Taglia LLP                            Attorney Fees                                            7/5/2022                 $2,500.00
      70 W. Madison St., Suite 1500
      Chicago, IL 60602
      rrbenjamin@gct.law
      Corbin Colonial Funeral Chapels, Inc.


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment             Amount of
      Address                                              transferred                                              or transfer was           payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or        Date transfer was
      Address                                              property transferred                       payments received or debts      made
                                                                                                      paid in exchange
      Person's relationship to you




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                     Date Transfer was
                                                                                                                                         made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was        Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,       before closing or
      Code)                                                                                                           moved, or                    transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents            Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                          have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents            Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                  have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                       Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                   Court or agency                            Nature of the case                   Status of the
      Case Number                                                  Name                                                                            case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                          Describe the nature of the business                   Employer Identification number
      Address                                                                                                      Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                   Dates business existed
      Corbin Venture #1 LLC                                  Financial Holding Company                             EIN:       XX-XXXXXXX
      5345 W. Madison St.
      Chicago, IL 60644                                      William A. Bronec, Ltd.                               From-To    2007-Present
                                                             4003 Fleetwood Avenue
                                                             Frankling Park, IL 60131

      Corbin Colonial Funeral Chapels                        Funeral Parlor                                        EIN:       XX-XXXXXXX
      Inc
      c/o Daniel Olswang, Registered                         William A. Bronec, Ltd.                               From-To    1984-Present
      Agt.                                                   4003 Fleetwood Avenue
      400 S. Green St., Suite H                              Franklin Park, IL 60131
      Chicago, IL 60607




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                   Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Funding Edge                                           4/27/2022
       24165 IH-10 West, Suite 217 - 281
       Boerne, TX 78006

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Karen Corbin
Karen Corbin                                                            Signature of Debtor 2
Signature of Debtor 1

Date      July 6, 2022                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 8
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Karen Corbin                                                                                     Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  7,500.00
             Prior to the filing of this statement I have received                                        $                  7,500.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):      $5,000 paid by debtor. $2,500 paid by Corbin Colonial Funeral Chapels, Inc.

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 6, 2022                                                             /s/ Robert R. Benjamin
     Date                                                                     Robert R. Benjamin
                                                                              Signature of Attorney
                                                                              Golan Christie Taglia LLP
                                                                              70 W. Madison St., Suite 1500
                                                                              Chicago, IL 60602
                                                                              (312) 263-2300
                                                                              rrbenjamin@gct.law
                                                                              Name of law firm
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                                       United States Bankruptcy Court
                                            Northern District of Illinois
In re   Karen Corbin                                                             Case No.
                                                         Debtor(s)               Chapter    11




                                 VERIFICATION OF CREDITOR MATRIX

                                                                 Number of Creditors:                           19




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date: July 6, 2022                            /s/ Karen Corbin
                                              Karen Corbin
                                              Signature of Debtor
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                      Angela Corbin
                      1840 Longfellow Court
                      Berkeley, IL 60163


                      Arnell Corbin
                      1840 Longfellow Court
                      Berkeley, IL 60163


                      Bobby Martell Pugh
                      1837 Longfellow Court
                      Berkeley, IL 60163


                      Claressa Corbin Randle
                      1841 Longfellow Court
                      Berkeley, IL 60163


                      Corbin Colonial Funeral Chapels Inc
                      c/o Daniel Olswang, Registered Agt.
                      400 S. Green St., Suite H
                      Chicago, IL 60607


                      FCI Lender Services, Inc.
                      PO Box 27370
                      Anaheim, CA 92809-0112


                      First American Bank
                      218 W. Main Street
                      West Dundee, IL 60118


                      Firstkey Mortgage LLC
                      900 Third Avenue, 5th Floor
                      New York, NY 10022


                      Huntington National Bank
                      41 South High Street
                      Columbus, OH 43287


                      John Lydon
                      c/o Gomberg Sharfman P.C.
                      208 S. LaSalle St., Suite 1410
                      Chicago, IL 60604


                      Kimberly A. Corbin
                      687 Meadowdale Dr.
                      Romeoville, IL 60446
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                  Loren Corbin
                  1840 Longfellow Court
                  Berkeley, IL 60163


                  McCalla Raymer Liebert Pierce, LLC
                  1 N. Dearborn St., Suite 1200
                  Chicago, IL 60602


                  New Penn Financial, LLC
                  55 Beattie Place, Suite 110 MS#001
                  Greenville, SC 29601


                  Select Portfolio Servicing, Inc.
                  PO Box 65450
                  Salt Lake City, UT 84165-0450


                  Shellpoint Mortgage Servicing
                  P.O. Box 10826
                  Greenville, SC 29603-0826


                  State Farm Insurance
                  PO Box 2364
                  Bloomington, IL 61702-2364


                  Syreeta Corbin
                  1837 Longfellow Court
                  Berkeley, IL 60163


                  VAK M25 Fund, LLC
                  224 East Jericho Turnpike
                  South Huntington, NY 11746
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        1040 U.S. Individual Income Tax Return 2021                                  (99)
 Form                   Department of the Treasury—Internal Revenue Service

                                                                                                                        OMB No. 1545-0074              IRS Use Only—Do not write or staple in this space.

 Filing Status               Single       Married filing jointly              Married filing separately (MFS)                      Head of household (HOH)                 Qualifying widow(er) (QW)
 Check only            If you checked the MFS box, enter the name of your spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying
 one box.
                       person is a child but not your dependent a
   Your first name and middle initial                                     Last name                                                                                     Your social security number
        KAREN                                                             CORBIN                                                                                                     3222
   If joint return, spouse’s first name and middle initial                Last name                                                                                     Spouse’s social security number


   Home address (number and street). If you have a P.O. box, see instructions.                                                                     Apt. no.        Presidential Election Campaign
        1840 LONGFELLOW CT                                                                                                                                         Check here if you, or your
                                                                                                                                                                   spouse if filing jointly, want $3
   City, town, or post office. If you have a foreign address, also complete spaces below.                          State                       ZIP code
                                                                                                                                                                   to go to this fund. Checking a
        BERKELEY                                                                                                   IL                          60163               box below will not change
   Foreign country name                                                            Foreign province/state/county                               Foreign postal code your tax or refund.
                                                                                                                                                                                     You          Spouse

 At any time during 2021, did you receive, sell, exchange, or otherwise dispose of any financial interest in any virtual currency?                                                   Yes          No

 Standard              Someone can claim:        You as a dependent          Your spouse as a dependent
 Deduction                Spouse itemizes on a separate return or you were a dual-status alien

 Age/Blindness You:                Were born before January 2, 1957                   Are blind           Spouse:                  Was born before January 2, 1957                    Is blind
 Dependents (see instructions):                                                             (2) Social security            (3) Relationship             (4)  if qualifies for (see instructions):
                  (1) First name                    Last name                                    number                         to you                 Child tax credit       Credit for other dependents
 If more
 than four
 dependents,
 see instructions
 and check
 here a
                       1      Wages, salaries, tips, etc. Attach Form(s) W-2                  .   .   .   .   .     .      .   .     .   .     .   .   .    .   .   .        1           130,250.
 Attach                2a     Tax-exempt interest .          .   .      2a                                                                                                  2b             1,510.
                                                                                                                  b Taxable interest   .               .    .   .   .
 Sch. B if
 required.
                       3a     Qualified dividends .          .   .      3a                        575.            b Ordinary dividends .               .    .   .   .       3b               575.
                       4a     IRA distributions . .          .   .      4a                                        b Taxable amount . .                 .    .   .   .       4b
                       5a     Pensions and annuities . .         5a                             b Taxable amount .                                 .   .    .   .   .       5b             11,452.
Standard               6a     Social security benefits . .       6a           32,759.           b Taxable amount .                                 .   .    .   .   .       6b              8,005.
Deduction for—                                                                                                                                                  a
                       7      Capital gain or (loss). Attach Schedule D if required. If not required, check here .                                 .   .    .                7
• Single or
  Married filing        8     Other income from Schedule 1, line 10 . . . . . . . .                                        .   .     .   .     .   .   .    .   .   .        8        -122,043.
  separately,
  $12,550               9     Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total income                         .   .     .   .     .   .   .    .   .   a        9          29,749.
• Married filing       10     Adjustments to income from Schedule 1, line 26        . . . . .                              .   .     .   .     .   .   .    .   .   .       10
  jointly or
                       11     Subtract line 10 from line 9. This is your adjusted gross income                             .   .     .   .     .   .   .    .   .   a       11             29,749.
  Qualifying
  widow(er),
  $25,100
                       12a    Standard deduction or itemized deductions (from Schedule A)             . .                                12a               15,498.
• Head of                b    Charitable contributions if you take the standard deduction (see instructions)                             12b
  household,
  $18,800                c    Add lines 12a and 12b . . . . . . . . . . . . . .                                                .     .   .     .   .   .    .   .   .       12c            15,498.
• If you checked       13     Qualified business income deduction from Form 8995 or Form 8995-A                                .     .   .     .   .   .    .   .   .        13                 0.
  any box under
  Standard             14     Add lines 12c and 13    . . . . . . . . . . . . . .                                              .     .   .     .   .   .    .   .   .        14            15,498.
  Deduction,
  see instructions.
                       15     Taxable income. Subtract line 14 from line 11. If zero or less, enter -0-                        .     .   .     .   .   .    .   .   .       15             14,251.

 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                                                           Form   1040 (2021)
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                     16     Tax (see instructions). Check if any from Form(s): 1      8814 2      4972 3                                        .     .     16                  1,442.
                     17     Amount from Schedule 2, line 3        . . . . . . . . . . . . . . .                                 .   .     .     .     .     17
                     18     Add lines 16 and 17 . . . . . . . . . . . . . . . . . . .                                           .   .     .     .     .     18                  1,442.
                     19     Nonrefundable child tax credit or credit for other dependents from Schedule 8812                    .   .     .     .     .     19
                     20     Amount from Schedule 3, line 8        . . . . . . . . . . . . . . .                                 .   .     .     .     .     20
                     21     Add lines 19 and 20 . . . . . . . . . . . . . . . . . . .                                           .   .     .     .     .     21
                     22     Subtract line 21 from line 18. If zero or less, enter -0- . . . . . . . . .                         .   .     .     .     .     22                  1,442.
                     23     Other taxes, including self-employment tax, from Schedule 2, line 21     . . . .                    .   .     .     .     .     23                      0.
                     24     Add lines 22 and 23. This is your total tax . . . . . . . . . . . .                                 .   .     .     .     a     24                  1,442.
                     25     Federal income tax withheld from:
                       a    Form(s) W-2 . . . . . . . . . . . . . . . . . .                              25a                            28,947.
                       b    Form(s) 1099 . . . . . . . . . . . . . . . . . .                             25b                                77.
                       c    Other forms (see instructions) . . . . . . . . . . . . .                     25c
                       d    Add lines 25a through 25c . . . . . . . . . . . . . . . . .                                         .   .     .     .     .    25d             29,024.
If you have a
                     26     2021 estimated tax payments and amount applied from 2020 return . . . . .                           .   .     .     .     .     26              2,500.
qualifying child,    27a    Earned income credit (EIC) . . . . . . . . . . . . . .
                                                                                               No        27a
attach Sch. EIC.
                            Check here if you were born after January 1, 1998, and before
                            January 2, 2004, and you satisfy all the other requirements for
                            taxpayers who are at least age 18, to claim the EIC. See instructions a
                       b    Nontaxable combat pay election . . . .                  27b
                       c    Prior year (2019) earned income . . . .                 27c
                     28     Refundable child tax credit or additional child tax credit from Schedule 8812               28
                     29     American opportunity credit from Form 8863, line 8 . . . . . . .           29
                     30     Recovery rebate credit. See instructions . . . . . . . . . .               30
                     31     Amount from Schedule 3, line 15 . . . . . . . . . . . .                    31
                     32     Add lines 27a and 28 through 31. These are your total other payments and refundable credits                               a     32
                     33     Add lines 25d, 26, and 32. These are your total payments     . . . . . . . . . . .                                        a     33             31,524.
                     34     If line 33 is more than line 24, subtract line 24 from line 33. This is the amount you overpaid                     .     .     34             30,082.
Refund
                     35a    Amount of line 34 you want refunded to you. If Form 8888 is attached, check here .                      .     .    a           35a             26,082.
Direct deposit?      ab     Routing number                                             a c Type:      Checking                                Savings
See instructions.    ad     Account number
                     36     Amount of line 34 you want applied to your 2022 estimated tax . . a         36                              4,000.
Amount               37     Amount you owe. Subtract line 33 from line 24. For details on how to pay, see instructions                          .   a       37
You Owe              38     Estimated tax penalty (see instructions) . . . . . . . . . a                 38
Third Party             Do you want to allow another person to discuss this return with the IRS? See
Designee                instructions . . . . . . . . . . . . . . . . . . . . a                                                   Yes. Complete below.                    No
                        Designee’s                                                        Phone                                     Personal identification
                        name a                                                            no. a                                     number (PIN) a
                        Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                    belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here                    Your signature                                            Date            Your occupation                                   If the IRS sent you an Identity
                                                                                                                                                    Protection PIN, enter it here
                    F




Joint return?                                                                                     FUNERAL MANAGEMENT                                (see inst.) a
See instructions.       Spouse’s signature. If a joint return, both must sign.    Date            Spouse’s occupation                               If the IRS sent your spouse an
Keep a copy for                                                                                                                                     Identity Protection PIN, enter it here
your records.                                                                                                                                       (see inst.) a
                        Phone no.                                                 Email address   KARENCORBIN1@YAHOO.COM
                        Preparer’s name                        Preparer’s signature                                    Date                    PTIN                  Check if:
Paid                    WILLIAM A. BRONEC CPA                                                                                                 P00175261        Self-employed
Preparer
                        Firm’s name a    William A Bronec, LTD                                                                                   Phone no. (708)927-6698
Use Only
                        Firm’s address a 2836 N Riverwalk Dr Chicago IL 60618                                                                       Firm’s EIN   a

Go to www.irs.gov/Form1040 for instructions and the latest information.                               BAA              REV 06/27/22 PRO                                  Form    1040 (2021)
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SCHEDULE 1                                                                                                                    OMB No. 1545-0074
                                Additional Income and Adjustments to Income
(Form 1040)
Department of the Treasury
                                                a Attach to Form 1040, 1040-SR, or 1040-NR.                                    2021
                                                                                                                              Attachment
Internal Revenue Service         a Go   to www.irs.gov/Form1040 for instructions and the latest information.                  Sequence No. 01
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                                Your social security number
KAREN CORBIN                                                                                                              3222
 Part I        Additional Income
  1       Taxable refunds, credits, or offsets of state and local income taxes . . . . . . .                             1                      0.
  2a Alimony received . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              2a
      b Date of original divorce or separation agreement (see instructions) a
  3       Business income or (loss). Attach Schedule C               . . . . . . . . . . . . . . .                       3
  4       Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . . . . .                                    4
  5       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach
          Schedule E . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           5        -122,043.
  6       Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . . . . .                                     6
  7       Unemployment compensation . . . . . . . . . . . . . . . . . . . . . .                                          7
  8       Other income:
      a Net operating loss        . . . . . . . . . . . . . . . . . .                        8a (                    )
      b Gambling income . . . . . . . . . . . . . . . . . . .                                8b
      c Cancellation of debt . . . . . . . . . . . . . . . . . .                             8c
      d Foreign earned income exclusion from Form 2555                     . . . . .         8d (                    )
      e Taxable Health Savings Account distribution . . . . . . . .                          8e
      f Alaska Permanent Fund dividends . . . . . . . . . . . .                               8f
      g Jury duty pay        . . . . . . . . . . . . . . . . . . . .                         8g
      h Prizes and awards         . . . . . . . . . . . . . . . . . .                        8h
      i   Activity not engaged in for profit income            . . . . . . . . .              8i
      j Stock options . . . . . . . . . . . . . . . . . . . .                                 8j
      k Income from the rental of personal property if you engaged in
        the rental for profit but were not in the business of renting such
        property . . . . . . . . . . . . . . . . . . . . . .                                 8k
      l   Olympic and Paralympic medals and USOC prize money (see
          instructions) . . . . . . . . . . . . . . . . . . . . .                             8l
      m Section 951(a) inclusion (see instructions) . . . . . . . . .                        8m
      n Section 951A(a) inclusion (see instructions)              . . . . . . . .            8n
      o Section 461(l) excess business loss adjustment . . . . . . .                         8o
      p Taxable distributions from an ABLE account (see instructions) .                      8p
      z Other income. List type and amount a
                                                                                             8z
 9        Total other income. Add lines 8a through 8z . . . . . . . . . . . . . . . .                                    9
10        Combine lines 1 through 7 and 9. Enter here and on Form 1040, 1040-SR, or
          1040-NR, line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          10       -122,043.
For Paperwork Reduction Act Notice, see your tax return instructions.                                                Schedule 1 (Form 1040) 2021
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 Part II Adjustments to Income
11       Educator expenses . . . . . . . . . . . . . . . . . . . . . . . . . .                      11
12       Certain business expenses of reservists, performing artists, and fee-basis government
         officials. Attach Form 2106 . . . . . . . . . . . . . . . . . . . . . . .                  12
13       Health savings account deduction. Attach Form 8889 . . . . . . . . . . . .                 13
14       Moving expenses for members of the Armed Forces. Attach Form 3903 . . . . .                14
15       Deductible part of self-employment tax. Attach Schedule SE     . . . . . . . . .           15
16       Self-employed SEP, SIMPLE, and qualified plans . . . . . . . . . . . . . .                 16
17       Self-employed health insurance deduction . . . . . . . . . . . . . . . . .                 17
18       Penalty on early withdrawal of savings   . . . . . . . . . . . . . . . . . .               18
19a Alimony paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          19a
     b Recipient’s SSN        . . . . . . . . . . . . . . . . . . . . a
     c Date of original divorce or separation agreement (see instructions) a
20       IRA deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      20
21       Student loan interest deduction . . . . . . . . . . . . . . . . . . . . .                  21
22       Reserved for future use    . . . . . . . . . . . . . . . . . . . . . . . .                 22
23       Archer MSA deduction . . . . . . . . . . . . . . . . . . . . . . . . .                     23
24       Other adjustments:
    a Jury duty pay (see instructions) . . . . . . . . . . . . .            24a
     b Deductible expenses related to income reported on line 8k from
       the rental of personal property engaged in for profit . . . . . 24b
     c Nontaxable amount of the value of Olympic and Paralympic
       medals and USOC prize money reported on line 8l . . . . . 24c
     d Reforestation amortization and expenses . . . . . . . . .            24d
     e Repayment of supplemental unemployment benefits under the
       Trade Act of 1974 . . . . . . . . . . . . . . . . . . . 24e
     f Contributions to section 501(c)(18)(D) pension plans . . . . .       24f
     g Contributions by certain chaplains to section 403(b) plans     . .   24g
     h Attorney fees and court costs for actions involving certain
       unlawful discrimination claims (see instructions) . . . . . . 24h
     i Attorney fees and court costs you paid in connection with an
       award from the IRS for information you provided that helped the
       IRS detect tax law violations . . . . . . . . . . . . . .       24i
     j   Housing deduction from Form 2555      . . . . . . . . . . .        24j
     k Excess deductions of section 67(e) expenses from Schedule K-1
       (Form 1041) . . . . . . . . . . . . . . . . . . . . . 24k
     z Other adjustments. List type and amount a
                                                                            24z
25       Total other adjustments. Add lines 24a through 24z . . . . . . . . . . . . .               25
26       Add lines 11 through 23 and 25. These are your adjustments to income. Enter
         here and on Form 1040 or 1040-SR, line 10, or Form 1040-NR, line 10a . . . . .             26
                                                                BAA            REV 06/27/22 PRO    Schedule 1 (Form 1040) 2021
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SCHEDULE A                                                        Itemized Deductions                                                                          OMB No. 1545-0074
(Form 1040)
Department of the Treasury
                                         a Go   to www.irs.gov/ScheduleA for instructions and the latest information.
                                                                a Attach to Form 1040 or 1040-SR.                                                               2021
                                                                                                                                                               Attachment
Internal Revenue Service (99)   Caution: If you are claiming a net qualified disaster loss on Form 4684, see the instructions for line 16.                     Sequence No. 07
Name(s) shown on Form 1040 or 1040-SR                                                                                                                  Your social security number
 KAREN CORBIN                                                                                                                                                       3222
Medical                    Caution: Do not include expenses reimbursed or paid by others.
and         1              Medical and dental expenses (see instructions) . . . . . .                             .       1
Dental      2              Enter amount from Form 1040 or 1040-SR, line 11 2
Expenses    3              Multiply line 2 by 7.5% (0.075) . . . . . . . . . . . .                                .       3
                         4 Subtract line 3 from line 1. If line 3 is more than line 1, enter -0- .                .   .   . .       .    .    .   .        4
Taxes You                5 State and local taxes.
Paid                      a State and local income taxes or general sales taxes. You may include
                            either income taxes or general sales taxes on line 5a, but not both. If
                            you elect to include general sales taxes instead of income taxes,
                            check this box . . . . . . . . . . . . . . . . . a                                            5a              9,526.
                          b State and local real estate taxes (see instructions) . . . . . . .                            5b             20,472.
                          c State and local personal property taxes . . . . . . . . . .                                   5c
                          d Add lines 5a through 5c . . . . . . . . . . . . . . .                                         5d             29,998.
                          e Enter the smaller of line 5d or $10,000 ($5,000 if married filing
                            separately) . . . . . . . . . . . . . . . . . . .                                             5e             10,000.
                         6 Other taxes. List type and amount a
                                                                                                                          6
                         7 Add lines 5e and 6         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   . .       .    .    .   .        7           10,000.
Interest                 8 Home mortgage interest and points. If you didn’t use all of your home
You Paid                    mortgage loan(s) to buy, build, or improve your home, see
Caution: Your               instructions and check this box . . . . . . . . . . . a
mortgage interest
deduction may be          a Home mortgage interest and points reported to you on Form 1098.
limited (see                See instructions if limited . . . . . . . . . . . . . .                                       8a                 2,497.
instructions).
                          b Home mortgage interest not reported to you on Form 1098. See
                            instructions if limited. If paid to the person from whom you bought the
                            home, see instructions and show that person’s name, identifying no.,
                            and address . . . . . . . . . . . . . . . . . . .
                            a
                                                                                                  8b
                          c Points not reported to you on Form 1098. See instructions for special
                            rules . . . . . . . . . . . . . . . . . . . . .                       8c
                          d Mortgage insurance premiums (see instructions) . . . . . . .          8d
                          e Add lines 8a through 8d . . . . . . . . . . . . . . .                 8e                                         2,497.
                         9 Investment interest. Attach Form 4952 if required. See instructions .   9
                        10 Add lines 8e and 9     . . . . . . . . . . . . . . . . . . .                                             .    .    .   .       10            2,497.
Gifts to                11 Gifts by cash or check. If you made any gift of $250 or more, see
Charity                    instructions . . . . . . . . . . . . . . . . . . .                 11                                             3,001.
Caution: If you         12 Other than by cash or check. If you made any gift of $250 or more,
made a gift and
got a benefit for it,      see instructions. You must attach Form 8283 if over $500 . . . .   12
see instructions.       13 Carryover from prior year . . . . . . . . . . . . . .              13
                        14 Add lines 11 through 13 . . . . . . . . . . . . . . . . . .                                              .    .    .   .       14            3,001.
Casualty and 15 Casualty and theft loss(es) from a federally declared disaster (other than net qualified
Theft Losses    disaster losses). Attach Form 4684 and enter the amount from line 18 of that form. See
                            instructions .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .    .    .    .   .       15
Other      16 Other—from list in instructions. List type and amount a
Itemized
Deductions                                                                                               16
Total      17 Add the amounts in the far right column for lines 4 through 16. Also, enter this amount on
Itemized      Form 1040 or 1040-SR, line 12a . . . . . . . . . . . . . . . . . . .                       17                                                            15,498.
Deductions 18 If you elect to itemize deductions even though they are less than your standard deduction,
                            check this box .      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .    .    .    .   a

For Paperwork Reduction Act Notice, see the Instructions for Forms 1040 and 1040-SR. BAA                              REV 06/27/22 PRO                 Schedule A (Form 1040) 2021
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SCHEDULE B                                                                                                                      OMB No. 1545-0074
                                                    Interest and Ordinary Dividends
                                                                                                                                  2021
(Form 1040)
                                        a Go   to www.irs.gov/ScheduleB for instructions and the latest information.
Department of the Treasury                                   a Attach to Form 1040 or 1040-SR.
                                                                                                                                Attachment
Internal Revenue Service (99)                                                                                                   Sequence No. 08
Name(s) shown on return                                                                                                 Your social security number
KAREN CORBIN                                                                                                                        3222
Part I                   1      List name of payer. If any interest is from a seller-financed mortgage and the                      Amount
                                buyer used the property as a personal residence, see the instructions and list this
Interest                        interest first. Also, show that buyer’s social security number and address a
(See instructions
                                STATE FARM LIFE INSURANCE                                                                                 1,250.
and the                         NEW YORK LIFE                                                                                               130.
Instructions for                CHASE                                                                                                        80.
Form 1040, line
2b.)                            BMO HARRIS                                                                                                   50.
Note: If you                                                                                                             1
received a Form
1099-INT, Form
1099-OID, or
substitute
statement from
a brokerage firm,
list the firm’s
name as the
payer and enter
the total interest
shown on that
form.
                         2  Add the amounts on line 1 . . . . . . . . . . . . . . . . . . .                              2                1,510.
                         3  Excludable interest on series EE and I U.S. savings bonds issued after 1989.
                            Attach Form 8815 . . . . . . . . . . . . . . . . . . . . . .                                 3
                       4    Subtract line 3 from line 2. Enter the result here and on Form 1040 or 1040-SR,
                            line 2b . . . . . . . . . . . . . . . . . . . . . . . . a                                    4                1,510.
                      Note: If line 4 is over $1,500, you must complete Part III.                                                   Amount
Part II                5    List name of payer a        MET LIFE C0010874939                                                                  258.
                                 MET LIFE C0010874921                                                                                         298.
Ordinary                         MET LIFE C0010873673                                                                                          19.
Dividends
(See instructions
and the
Instructions for
Form 1040, line
3b.)                                                                                                                     5
Note: If you
received a Form
1099-DIV or
substitute
statement from
a brokerage firm,
list the firm’s
name as the
payer and enter
the ordinary
dividends shown
on that form.
                         6   Add the amounts on line 5. Enter the total here and on Form 1040 or 1040-SR,
                             line 3b . . . . . . . . . . . . . . . . . . . . . . . . a                                   6                    575.
                      Note: If line 6 is over $1,500, you must complete Part III.
Part III              You must complete this part if you (a) had over $1,500 of taxable interest or ordinary dividends; (b) had a
                                                                                                                                          Yes No
                      foreign account; or (c) received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Foreign                  7a     At any time during 2021, did you have a financial interest in or signature authority over a financial
Accounts                        account (such as a bank account, securities account, or brokerage account) located in a foreign
and Trusts                      country? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
Caution: If                  If “Yes,” are you required to file FinCEN Form 114, Report of Foreign Bank and Financial
required, failure            Accounts (FBAR), to report that financial interest or signature authority? See FinCEN Form 114
to file FinCEN               and its instructions for filing requirements and exceptions to those requirements . . . . . .
Form 114 may
result in
                           b If you are required to file FinCEN Form 114, enter the name of the foreign country where the
substantial                  financial account is located a
penalties. See           8   During 2021, did you receive a distribution from, or were you the grantor of, or transferor to, a
instructions.                foreign trust? If “Yes,” you may have to file Form 3520. See instructions . . . . . . . . .
For Paperwork Reduction Act Notice, see your tax return instructions.          BAA         REV 06/27/22 PRO            Schedule B (Form 1040) 2021
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SCHEDULE E                                                Supplemental Income and Loss                                                 OMB No. 1545-0074


                                                                                                                                         2021
(Form 1040)                     (From rental real estate, royalties, partnerships, S corporations, estates, trusts, REMICs, etc.)
                                                      aAttach to Form 1040, 1040-SR, 1040-NR, or 1041.
Department of the Treasury                                                                                                              Attachment
Internal Revenue Service (99)            a Go   to www.irs.gov/ScheduleE for instructions and the latest information.                   Sequence No. 13
Name(s) shown on return                                                                                                    Your social security number
KAREN CORBIN                                                                                                                           3222
 Part I Income or Loss From Rental Real Estate and Royalties                           Note: If you are in the business of renting personal property, use
                 Schedule C. See instructions. If you are an individual, report farm rental income or loss from Form 4835 on page 2, line 40.
 A Did you make any payments in 2021 that would require you to file Form(s) 1099? See instructions . . . . .            Yes   No
 B If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . .                      Yes   No
  1a Physical address of each property (street, city, state, ZIP code)
   A     5345 W. Madison Street Chicago IL 60644
   B
   C
  1b       Type of Property      2 For each rental real estate property listed            Fair Rental      Personal Use
                                                                                                                            QJV
           (from list below)          above, report the number of fair rental and             Days             Days
                                      personal use days. Check the QJV box only
   A     4                            if you meet the requirements to file as a      A          365                 0
   B                                  qualified joint venture. See instructions.     B
   C                                                                                 C
Type of Property:
1 Single Family Residence          3 Vacation/Short-Term Rental 5 Land                  7 Self-Rental
2 Multi-Family Residence           4 Commercial                         6 Royalties     8 Other (describe)
Income:                                                  Properties:                 A                  B                 C
  3     Rents received . . . . . . . . . . . . .                          3         304,789.
  4     Royalties received . . . . . . . . . . . .                        4
Expenses:
  5     Advertising . . . . . . . . . . . . . .                           5
  6     Auto and travel (see instructions) . . . . . . .                  6
  7     Cleaning and maintenance . . . . . . . . .                        7
  8     Commissions. . . . . . . . . . . . . .                            8
  9     Insurance . . . . . . . . . . . . . . .                           9             700.
 10     Legal and other professional fees . . . . . . .                  10
 11     Management fees . . . . . . . . . . . .                          11
 12     Mortgage interest paid to banks, etc. (see instructions)         12
 13     Other interest. . . . . . . . . . . . . .                        13           6,740.
 14     Repairs. . . . . . . . . . . . . . . .                           14          29,877.
 15     Supplies . . . . . . . . . . . . . . .                           15          16,559.
 16     Taxes . . . . . . . . . . . . . . . .                            16          86,545.
 17     Utilities . . . . . . . . . . . . . . . .                        17          49,575.
 18     Depreciation expense or depletion . . . . . .                    18         105,573.
 19     Other (list) a See Line 19 Other Expenses                        19          42,033.
 20     Total expenses. Add lines 5 through 19 . . . . .                 20         337,602.
 21   Subtract line 20 from line 3 (rents) and/or 4 (royalties). If
      result is a (loss), see instructions to find out if you must
      file Form 6198 . . . . . . . . . . . . .                         21           -32,813.
 22   Deductible rental real estate loss after limitation, if any,
      on Form 8582 (see instructions) . . . . . . .                    22 (                  0. ) (                    )(                                      )
 23a Total of all amounts reported on line 3 for all rental properties       . . . .          23a            304,789.
    b Total of all amounts reported on line 4 for all royalty properties . . . .              23b
    c Total of all amounts reported on line 12 for all properties . . . . . .                 23c
    d Total of all amounts reported on line 18 for all properties . . . . . .                 23d            105,573.
    e Total of all amounts reported on line 20 for all properties . . . . . .                 23e            337,602.
 24   Income. Add positive amounts shown on line 21. Do not include any losses . . . . . . .                        24
 25   Losses. Add royalty losses from line 21 and rental real estate losses from line 22. Enter total losses here . 25 (                                 0. )
 26      Total rental real estate and royalty income or (loss). Combine lines 24 and 25. Enter the result
         here. If Parts II, III, IV, and line 40 on page 2 do not apply to you, also enter this amount on
         Schedule 1 (Form 1040), line 5. Otherwise, include this amount in the total on line 41 on page 2 .                     26                        0.
For Paperwork Reduction Act Notice, see the separate instructions.                                                               Schedule E (Form 1040) 2021

                                                                                BAA    REV 06/27/22 PRO
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Schedule E (Form 1040) 2021                                                                                       Attachment Sequence No.        13                             Page 2
Name(s) shown on return. Do not enter name and social security number if shown on other side.                                                  Your social security number
KAREN CORBIN                                                                                                                                                 3222
Caution: The IRS compares amounts reported on your tax return with amounts shown on Schedule(s) K-1.
 Part II        Income or Loss From Partnerships and S Corporations — Note:                          If you report a loss, receive a distribution, dispose of
                stock, or receive a loan repayment from an S corporation, you must check the box in column (e) on line 28 and attach the required basis
                computation. If you report a loss from an at-risk activity for which any amount is not at risk, you must check the box in column (f) on
                line 28 and attach Form 6198. See instructions.

 27         Are you reporting any loss not allowed in a prior year due to the at-risk or basis limitations, a prior year unallowed loss from a
            passive activity (if that loss was not reported on Form 8582), or unreimbursed partnership expenses? If you answered “Yes,”
            see instructions before completing this section . . . . . . . . . . . . . . . . . . .                              Yes        No
                                                                     (b) Enter P for       (c) Check if               (d) Employer                (e) Check if       (f) Check if
 28                             (a) Name                             partnership; S           foreign                 identification           basis computation    any amount is
                                                                    for S corporation       partnership                  number                    is required        not at risk
 A CORBIN CORBIN FUNERAL CHAPELS, INC.                                         S
 B
 C
 D
             Passive Income and Loss                                                                          Nonpassive Income and Loss
              (g) Passive loss allowed                (h) Passive income           (i) Nonpassive loss allowed         (j) Section 179 expense            (k) Nonpassive income
           (attach Form 8582 if required)             from Schedule K-1                 (see Schedule K-1)            deduction from Form 4562              from Schedule K-1

 A                                                                                                122,043.
 B
 C
 D
 29a    Totals
    b   Totals                                                       122,043.
 30     Add columns (h) and (k) of line 29a. . . . . . . . . . . . . . . . .                                                .   .      .   .     30
 31     Add columns (g), (i), and (j) of line 29b. . . . . . . . . . . . . . . .                                            .   .      .   .     31 (               122,043. )
 32     Total partnership and S corporation income or (loss). Combine lines 30 and 31                                       .   .      .   .     32                -122,043.
Part III        Income or Loss From Estates and Trusts
                                                                                                                                                            (b) Employer
 33                                                              (a) Name
                                                                                                                                                        identification number

 A
 B
                                 Passive Income and Loss                                                                 Nonpassive Income and Loss
              (c) Passive deduction or loss allowed                   (d) Passive income                      (e) Deduction or loss                    (f) Other income from
                  (attach Form 8582 if required)                      from Schedule K-1                        from Schedule K-1                            Schedule K-1

 A
 B
 34a    Totals
    b   Totals
 35     Add columns (d) and (f) of line 34a . . . . . . . . . . .                                    .    .   .   .     .   .   .      .   .     35
 36     Add columns (c) and (e) of line 34b . . . . . . . . . . .                                    .    .   .   .     .   .   .      .   .     36 (                                )
 37     Total estate and trust income or (loss). Combine lines 35 and 36 .                           .    .   .   .     .   .   .      .   .     37
Part IV         Income or Loss From Real Estate Mortgage Investment Conduits (REMICs)—Residual Holder
                                                                                     (c) Excess inclusion from
 38                                              (b) Employer identification                                           (d) Taxable income (net loss)         (e) Income from
                     (a) Name                                                          Schedules Q, line 2c
                                                          number                                                        from Schedules Q, line 1b          Schedules Q, line 3b
                                                                                          (see instructions)


 39     Combine columns (d) and (e) only. Enter the result here and include in the total on line 41 below                                        39
 Part V         Summary
 40     Net farm rental income or (loss) from Form 4835. Also, complete line 42 below . . . . . .                                                40
 41     Total income or (loss). Combine lines 26, 32, 37, 39, and 40. Enter the result here and on Schedule 1 (Form 1040), line 5 a              41                -122,043.
 42     Reconciliation of farming and fishing income. Enter your gross
        farming and fishing income reported on Form 4835, line 7; Schedule K-1
        (Form 1065), box 14, code B; Schedule K-1 (Form 1120-S), box 17, code
        AD; and Schedule K-1 (Form 1041), box 14, code F. See instructions . .                           42
 43     Reconciliation for real estate professionals. If you were a real estate professional
        (see instructions), enter the net income or (loss) you reported anywhere on Form
        1040, Form 1040-SR, or Form 1040-NR from all rental real estate activities in which
        you materially participated under the passive activity loss rules . . . . . .                    43
                                                                               REV 06/27/22 PRO                                                       Schedule E (Form 1040) 2021
                Case 22-07509                   Doc 1         Filed 07/06/22 Entered 07/06/22 15:59:11                         Desc Main
                                                               Document     Page 59 of 71
Form   6198
(Rev. December 2020)
                                                                   At-Risk Limitations                                                    OMB No. 1545-0712

                                                                     a Attach to your tax return.
                                                                                                                                          Attachment
Department of the Treasury                                                                                                                                31
Internal Revenue Service
                                             a Go   to www.irs.gov/Form6198 for instructions and the latest information.                  Sequence No.
Name(s) shown on return                                                                                                        Identifying number
 KAREN CORBIN                                                                                                                                  3222
Description of activity (see instructions)
 S Corporation Schedule K-1 CORBIN CORBIN FUNERAL CHAPELS, INC.
 Part I Current Year Profit (Loss) From the Activity, Including Prior Year Nondeductible Amounts.
        See instructions.
   1   Ordinary income (loss) from the activity (see instructions) . . . . . . . . . . . . . . .                                     1          -372,938.
   2   Gain (loss) from the sale or other disposition of assets used in the activity (or of your interest in the
       activity) that you are reporting on:
     a Schedule D . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        2a
     b Form 4797 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         2b
     c Other form or schedule . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    2c
   3   Other income and gains from the activity, from Schedule K-1 (Form 1065) or Schedule K-1 (Form
       1120-S), that were not included on lines 1 through 2c . . . . . . . . . . . . . . . .                                         3
   4   Other deductions and losses from the activity, including investment interest expense allowed from
       Form 4952, that were not included on lines 1 through 2c . . . . . . . . . . . . . . .                                         4     (                   )
   5   Current year profit (loss) from the activity. Combine lines 1 through 4. See the instructions before
       completing the rest of this form . . . . . . . . . . . . . . . . . . . . . . .                                                5          -372,938.
 Part II       Simplified Computation of Amount at Risk. See the instructions before completing this part.
   6  Adjusted basis (as defined in section 1011) in the activity (or in your interest in              the activity) on the first
      day of the tax year. Do not enter less than zero . . . . . . . . . .                             . . . . . . . .             6               3,554.
  7   Increases for the tax year (see instructions) . . . . . . . . . . . .                            . . . . . . . .             7             121,732.
  8   Add lines 6 and 7 . . . . . . . . . . . . . . . . . . . .                                        . . . . . . . .             8             125,286.
  9   Decreases for the tax year (see instructions) . . . . . . . . . . .                              . . . . . . . .             9               3,243.
 10a Subtract line 9 from line 8 . . . . . . . . . . . . . . . . a                                       10a         122,043.
    b If line 10a is more than zero, enter that amount here and go to line 20                          (or complete Part III).
      Otherwise, enter -0- and see Pub. 925 for information on the recapture rules                              122,043.
                                                                                                       . . . . . . . .            10b
Part III       Detailed Computation of Amount at Risk. If you completed Part III of Form 6198 for the prior year, see
               the instructions.
 11   Investment in the activity (or in your interest in the activity) at the effective date. Do not enter less than
      zero      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      11
 12   Increases at effective date . . . . . . . . . . . . . . . . . . . . . . . . .                                                  12
 13   Add lines 11 and 12 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      13
 14   Decreases at effective date . . . . . . . . . . . . . . . . . . . . . . . . .                                                  14
 15   Amount at risk (check box that applies):


                                                                                                                               }
    a      At effective date. Subtract line 14 from line 13. Do not enter less than zero.
    b      From your prior year Form 6198, line 19b. Do not enter the amount from line 10b of                                        15
           your prior year form.
 16   Increases since (check box that applies):
    a       Effective date    b    The end of your prior year . . . . . . . . . . . . . . . .                                        16
 17   Add lines 15 and 16 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      17
 18   Decreases since (check box that applies):
    a       Effective date    b    The end of your prior year . . . . . . . . . . . . . . . .                                        18
 19a Subtract line 18 from line 17       . . . . . . . . . . . . . . . a                       19a
    b If line 19a is more than zero, enter that amount here and go to line 20. Otherwise, enter -0- and see
      Pub. 925 for information on the recapture rules . . . . . . . . . . . . . . . . . .                                           19b
Part IV        Deductible Loss
 20      Amount at risk. Enter the larger of line 10b or line 19b    . . . . . . . . . . . . . . .                                   20          122,043.
 21      Deductible loss. Enter the smaller of the line 5 loss (treated as a positive number) or line 20. See the
         instructions to find out how to report any deductible loss and any carryover . . . . . . . . .                              21 (       122,043.       )
         Note: If the loss is from a passive activity, see the Instructions for Form 8582, Passive Activity Loss Limitations, or the
               Instructions for Form 8810, Corporate Passive Activity Loss and Credit Limitations, to find out if the loss is allowed under
               the passive activity rules. If only part of the loss is subject to the passive activity loss rules, report only that part on Form
               8582 or Form 8810, whichever applies.
For Paperwork Reduction Act Notice, see the Instructions for Form 6198.                 BAA                 REV 06/27/22 PRO         Form 6198 (Rev. 12-2020)
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Form    8995                            Qualified Business Income Deduction                                                  OMB No. 1545-2294

                                                Simplified Computation
                                                            a Attach
                                                               to your tax return.
                                                                                                                              2021
Department of the Treasury                                                                                                   Attachment
Internal Revenue Service         a Go to www.irs.gov/Form8995 for instructions and the latest information.                   Sequence No. 55
Name(s) shown on return                                                                                     Your taxpayer identification number
 KAREN CORBIN                                                                                                            3222
Note. You can claim the qualified business income deduction only if you have qualified business income from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions.
Use this form if your taxable income, before your qualified business income deduction, is at or below $164,900 ($164,925 if married
filing separately; $329,800 if married filing jointly), and you aren’t a patron of an agricultural or horticultural cooperative.

  1                              (a) Trade, business, or aggregation name                           (b) Taxpayer          (c) Qualified business
                                                                                                identification number        income or (loss)



    i     KAREN CORBIN                                                                                     3222                           0.

   ii

  iii

  iv

   v

  2     Total qualified business income or (loss). Combine lines 1i through 1v,
        column (c)     . . . . . . . . . . . . . . . . . . . . . .                            2                0.
  3     Qualified business net (loss) carryforward from the prior year . . . . . . .          3 (      24,975. )
  4     Total qualified business income. Combine lines 2 and 3. If zero or less, enter -0-    4                0.
  5     Qualified business income component. Multiply line 4 by 20% (0.20) . . . . . . . . . . .                         5                     0.
  6     Qualified REIT dividends and publicly traded partnership (PTP) income or (loss)
        (see instructions) . . . . . . . . . . . . . . . . . . . .                            6
  7     Qualified REIT dividends and qualified PTP (loss) carryforward from the prior
        year . . . . . . . . . . . . . . . . . . . . . . . . .                                7 (                 )
  8     Total qualified REIT dividends and PTP income. Combine lines 6 and 7. If zero
        or less, enter -0- . . . . . . . . . . . . . . . . . . . .                            8
  9     REIT and PTP component. Multiply line 8 by 20% (0.20) . . . . . . . . . . . . . . .                              9
 10     Qualified business income deduction before the income limitation. Add lines 5 and 9 . . . . . .                 10                     0.
 11     Taxable income before qualified business income deduction (see instructions)         11         14,251.
 12     Net capital gain (see instructions) . . . . . . . . . . . . . . .                    12              575.
 13     Subtract line 12 from line 11. If zero or less, enter -0- . . . . . . . .            13         13,676.
 14     Income limitation. Multiply line 13 by 20% (0.20) . . . . . . . . . . . . . . . . . .                           14             2,735.
 15     Qualified business income deduction. Enter the smaller of line 10 or line 14. Also enter this amount on
        the applicable line of your return (see instructions) . . . . . . . . . . . . . . . . a                         15                0.
 16     Total qualified business (loss) carryforward. Combine lines 2 and 3. If greater than zero, enter -0- . .        16 (        24,975. )
 17     Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 6 and 7. If greater than
        zero, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       17 (                  0. )
For Privacy Act and Paperwork Reduction Act Notice, see instructions.                REV 06/27/22 PRO                           Form 8995 (2021)
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Form 7203
(December 2021)
                                           S Corporation Shareholder Stock and
                                                 Debt Basis Limitations
                                                                                                                                 OMB No. 1545-2302

                                                           a Attach to your tax return.                                          Attachment
Department of the Treasury
Internal Revenue Service           a   Go to www.irs.gov/Form7203 for instructions and the latest information.                   Sequence No. 203
Name(s) shown on return                                                                                       Identifying number
KAREN CORBIN                                                                                                               3222
Name of S corporation                                                                                         Employer identification number
CORBIN CORBIN FUNERAL CHAPELS, INC.
Stock block (see instructions) a
 Part I        Shareholder Stock Basis
  1   Stock basis at the beginning of the corporation’s tax year . . . . . . . . . . . . . . .                               1            3,554.
  2   Basis from any capital contributions made or additional stock acquired during the tax year . . . .                     2
  3a  Ordinary business income (enter losses in Part III) . . . . . . . . .                   3a
    b Net rental real estate income (enter losses in Part III)     . . . . . . . .            3b
    c Other net rental income (enter losses in Part III) . . . . . . . . . .                  3c
    d Interest income . . . . . . . . . . . . . . . . . . . . .                               3d
    e Ordinary dividends . . . . . . . . . . . . . . . . . . . .                              3e
    f Royalties . . . . . . . . . . . . . . . . . . . . . . .                                  3f
    g Net capital gains (enter losses in Part III)    . . . . . . . . . . . .                 3g
    h Net section 1231 gain (enter losses in Part III) . . . . . . . . . . .                  3h
    i Other income (enter losses in Part III) . . . . . . . . . . . . . .                      3i
    j Excess depletion adjustment . . . . . . . . . . . . . . . .                              3j
    k Tax-exempt income . . . . . . . . . . . . . . . . . . .                                 3k       121,732.
    l Recapture of business credits . . . . . . . . . . . . . . . .                            3l
    m Other items that increase stock basis        . . . . . . . . . . . . .                  3m
  4   Add lines 3a through 3m . . . . . . . . . . . . . . . . . . . . . . . . . .                                            4         121,732.
  5   Stock basis before distributions. Add lines 1, 2, and 4 . . . . . . . . . . . . . . . .                                5         125,286.
  6   Distributions (excluding dividend distributions)       . . . . . . . . . . . . . . . . . .                             6
      Note: If line 6 is larger than line 5, subtract line 5 from line 6 and report the result as a capital gain on
      Form 8949 and Schedule D. See instructions.
  7   Stock basis after distributions. Subtract line 6 from line 5. If the result is zero or less, enter -0-, skip
      lines 8 through 14, and enter -0- on line 15 . . . . . . . . . . . . . . . . . . . .                                   7         125,286.
  8a Nondeductible expenses . . . . . . . . . . . . . . . . . .                               8a
    b Depletion for oil and gas . . . . . . . . . . . . . . . . . .                           8b
    c Business credits (sections 50(c)(1) and (5)) . . . . . . . . . . . .                    8c
  9   Add lines 8a through 8c . . . . . . . . . . . . . . . . . . . . . . . . . .                                            9
 10   Stock basis before loss and deduction items. Subtract line 9 from line 7. If the result is zero or less,
      enter -0-, skip lines 11 through 14, and enter -0- on line 15 . . . . . . . . . . . . . .                             10         125,286.
 11   Allowable loss and deduction items. Enter the amount from line 47, column (c) . . . . . . . .                         11         125,286.
 12   Debt basis restoration (see net increase in instructions for line 23) . . . . . . . . . . . .                         12               0.
 13   Other items that decrease stock basis . . . . . . . . . . . . . . . . . . . . .                                       13
 14   Add lines 11, 12, and 13 . . . . . . . . . . . . . . . . . . . . . . . . . .                                          14         125,286.
 15   Stock basis at the end of the corporation’s tax year. Subtract line 14 from line 10. If the result is
      zero or less, enter -0-      . . . . . . . . . . . . . . . . . . . . . . . . . .                                      15                  0.
 Part II       Shareholder Debt Basis
                          Section A—Amount of Debt (If more than three debts, see instructions.)
                                                                          Debt 1             Debt 2              Debt 3
                             Description                                Formal note        Formal note         Formal note              Total
                                                                        Open account       Open account        Open account
                                                                        debt               debt                debt
 16 Loan balance at the beginning of the corporation’s tax
    year . . . . . . . . . . . . . . . . .                                 41,357.                                                       41,357.
 17 Additional loans (see instructions) . . . . . . .
 18 Loan balance before repayment. Combine lines 16 and 17                 41,357.                                                       41,357.
 19 Principal portion of debt repayment (this line doesn’t
    include interest) . . . . . . . . . . . . . (                              138. ) (                  )(                      )(         138. )
 20 Loan balance at the end of the corporation’s tax year.
    Combine lines 18 and 19 . . . . . . . . . .                            41,219.                                                       41,219.
For Paperwork Reduction Act Notice, see separate instructions.                                                REV 06/27/22 PRO   Form 7203 (12-2021)
                                                                                               BAA
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Form 7203 (12-2021)                                                                                                                       Page    2
 Part II      Shareholder Debt Basis (continued)
                                        Section B—Adjustments to Debt Basis
                             Description                                Debt 1             Debt 2              Debt 3               Total
 21 Debt basis at the beginning of the corporation’s tax year             41,357.                                                    41,357.
 22 Enter the amount, if any, from line 17 . . . . . .
 23 Debt basis restoration (see instructions) . . . . .                                                                                   0.
 24 Debt basis before repayment. Combine lines 21, 22, and 23             41,357.                                                    41,357.
 25 Divide line 24 by line 18 . . . . . . . . . . .                            1.
 26 Nontaxable debt repayment. Multiply line 25 by line 19                   138.                                                         138.
 27 Debt basis before nondeductible expenses and losses.
    Subtract line 26 from line 24 . . . . . . . . .                       41,219.                                                    41,219.
 28 Nondeductible expenses and oil and gas depletion
    deductions in excess of stock basis . . . . . . .                                                                                       0.
 29 Debt basis before losses and deductions. Subtract line
    28 from line 27. If the result is zero or less, enter -0- .           41,219.                                                    41,219.
 30 Allowable losses in excess of stock basis. Enter the
    amount from line 47, column (d) . . . . . . . .                       41,219.                                                    41,219.
 31 Debt basis at the end of the corporation’s tax year.
    Subtract line 30 from line 29. If the result is zero or
    less, enter -0- . . . . . . . . . . . . . .                   0.                                                                        0.
                                          Section C—Gain on Loan Repayment
32 Repayment. Enter the amount from line 19 . . . .            138.                                                                       138.
33 Nontaxable repayments. Enter the amount from line 26        138.                                                                       138.
34 Reportable gain. Subtract line 33 from line 32 . . .           0.                                                                        0.
Part III Shareholder Allowable Loss and Deduction Items
                                                              (a) Current  (b) Carryover    (c) Allowable      (d) Allowable      (e) Carryover
                                                              year losses    amounts          loss from          loss from          amounts
                       Description                          and deductions (column (e))      stock basis        debt basis
                                                                             from the
                                                                           previous year
 35   Ordinary business loss . . .      .   .   .   .   .     372,938.                       124,889.              41,088.          206,961.
 36   Net rental real estate loss . .   .   .   .   .   .                                                                                 0.
 37   Other net rental loss . . . .     .   .   .   .   .                                                                                 0.
 38   Net capital loss . . . . .        .   .   .   .   .                                                                                 0.
 39   Net section 1231 loss . . .       .   .   .   .   .                                                                                 0.
 40   Other loss . . . . . . .          .   .   .   .   .                                                                                 0.
 41   Section 179 deductions . . .      .   .   .   .   .                                                                                 0.
 42   Charitable contributions    . .   .   .   .   .   .        1,185.                              397.                131.           657.
 43   Investment interest expense .     .   .   .   .   .                                                                                 0.
 44   Section 59(e)(2) expenditures .   .   .   .   .   .                                                                                 0.
 45   Other deductions . . . . .        .   .   .   .   .                                                                                 0.
 46   Foreign taxes paid or accrued     .   .   .   .   .                                                                                 0.
 47 Total loss. Combine lines 35 through 46 for
    each column. Enter the total loss in column (c)
    on line 11 and enter the total loss in column
    (d) on line 30 . . . . . . . . . . .                      374,123.                       125,286.              41,219.         207,618.
                                                                                     BAA            REV 06/27/22 PRO       Form   7203 (12-2021)
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       8582                                    Passive Activity Loss Limitations                                                         OMB No. 1545-1008


                                                                                                                                           2021
Form
                                                           a See separate instructions.
                                                      aAttach to Form 1040, 1040-SR, or 1041.
Department of the Treasury                                                                                                               Attachment
Internal Revenue Service (99)         a Go to www.irs.gov/Form8582 for instructions and the latest information.                          Sequence No. 858
Name(s) shown on return                                                                                                     Identifying number
KAREN CORBIN                                                                                                                              3222
 Part I  2021 Passive Activity Loss
                   Caution: Complete Parts IV and V before completing Part I.
Rental Real Estate Activities With Active Participation (For the definition of active participation, see Special
Allowance for Rental Real Estate Activities in the instructions.)
   1a    Activities with net income (enter the amount from Part IV, column (a)) .         .   .     1a
    b    Activities with net loss (enter the amount from Part IV, column (b)) . .         .   .     1b (                        )
    c    Prior years’ unallowed losses (enter the amount from Part IV, column (c))        .   .     1c (                        )
    d    Combine lines 1a, 1b, and 1c . . . . . . . . . . . . . .                         .   .   . . . .       .   .   .   .       1d
All Other Passive Activities
   2a    Activities with net income (enter the amount from Part V, column (a)) .          .   .     2a         0.
    b    Activities with net loss (enter the amount from Part V, column (b)) . .          .   .     2b ( -32,813. )
    c    Prior years’ unallowed losses (enter the amount from Part V, column (c))         .   .     2c ( -29,480. )
    d    Combine lines 2a, 2b, and 2c . . . . . . . . . . . . . .                         .   .   . . . . . . . .   2d                        -62,293.
   3     Combine lines 1d and 2d. If this line is zero or more, stop here and include this form with your return;
         all losses are allowed, including any prior year unallowed losses entered on line 1c or 2c. Report the
         losses on the forms and schedules normally used . . . . . . . . . . . . . . . . .                                          3         -62,293.
         If line 3 is a loss and:   • Line 1d is a loss, go to Part II.
                                    • Line 2d is a loss (and line 1d is zero or more), skip Part II and go to line 10.

Caution: If your filing status is married filing separately and you lived with your spouse at any time during the year, do not complete
Part II. Instead, go to line 10.
  Part II          Special Allowance for Rental Real Estate Activities With Active Participation
                 Note: Enter all numbers in Part II as positive amounts. See instructions for an example.
   4     Enter the smaller of the loss on line 1d or the loss on line 3 . . . . . . . . . . . . . .                                 4
   5     Enter $150,000. If married filing separately, see instructions . . . . . .             5
   6     Enter modified adjusted gross income, but not less than zero. See instructions         6
         Note: If line 6 is greater than or equal to line 5, skip lines 7 and 8 and enter -0-
         on line 9. Otherwise, go to line 7.
   7     Subtract line 6 from line 5 . . . . . . . . . . . . . . . . .                          7
   8     Multiply line 7 by 50% (0.50). Do not enter more than $25,000. If married filing separately, see instructions              8
   9     Enter the smaller of line 4 or line 8 . . . . . . . . . . . . . . . . . . . . . .                                          9                     0.
  Part III         Total Losses Allowed
 10      Add the income, if any, on lines 1a and 2a and enter the total . . . . . . . . . . . . . .                                 10                    0.
 11      Total losses allowed from all passive activities for 2021. Add lines 9 and 10. See instructions to find
         out how to report the losses on your tax return  . . . . . . . . . . . . . . . . . .                                       11                    0.
 Part IV           Complete This Part Before Part I, Lines 1a, 1b, and 1c. See instructions.
                                                                Current year                   Prior years                  Overall gain or loss
                   Name of activity
                                                     (a) Net income       (b) Net loss        (c) Unallowed             (d) Gain               (e) Loss
                                                         (line 1a)          (line 1b)          loss (line 1c)




Total. Enter on Part I, lines 1a, 1b, and 1c a
For Paperwork Reduction Act Notice, see instructions.                                                  REV 06/27/22 PRO                     Form 8582 (2021)
                                                              BAA
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Form 8582 (2021)                                                                                                                                                    Page 2
  Part V           Complete This Part Before Part I, Lines 2a, 2b, and 2c. See instructions.
                                                                              Current year                    Prior years                    Overall gain or loss
                   Name of activity
                                                                 (a) Net income            (b) Net loss      (c) Unallowed              (d) Gain            (e) Loss
                                                                     (line 2a)               (line 2b)        loss (line 2c)
5345 W. Madison Street                                                            0.           32,813.             29,480.                                   62,293.




Total. Enter on Part I, lines 2a, 2b, and 2c a         0.        32,813.          29,480.
 Part VI           Use This Part if an Amount Is Shown on Part II, Line 9. See instructions.
                                                                Form or schedule
                                                                                                                                                          (d) Subtract
                                                                 and line number                                                       (c) Special
                   Name of activity                                                         (a) Loss              (b) Ratio                             column (c) from
                                                                to be reported on                                                      allowance
                                                                                                                                                           column (a).
                                                                (see instructions)




Total     .   .    .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   a                                 1.00
 Part VII          Allocation of Unallowed Losses. See instructions.
                                                                      Form or schedule
                                                                       and line number
                       Name of activity                                                                (a) Loss                  (b) Ratio           (c) Unallowed loss
                                                                      to be reported on
                                                                      (see instructions)
5345 W. Madison Street                                                    E Ln 22                         62,293.             1.00000000                     62,293.




Total     .   .    .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .    .   a              62,293.                   1.00                     62,293.
Part VIII          Allowed Losses. See instructions.
                                                                      Form or schedule
                                                                       and line number
                       Name of activity                                                                (a) Loss            (b) Unallowed loss         (c) Allowed loss
                                                                      to be reported on
                                                                      (see instructions)
 5345 W. Madison Street                                                   E Ln 22                         62,293.                     62,293.                          0.




Total     .   .    .    .   .   .   .   .   .   .   .   .   .     .   .   .   .   .    .   a              62,293.                     62,293.                          0.
                                                                                                                              REV 06/27/22 PRO           Form 8582 (2021)
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 Schedule 1               State and Local Income Tax Refund Worksheet           2021
   Line 1               State and local taxes paid in 2020 or prior years and refunded in 2021


Name(s) Shown on Return                                                                   Social Security Number
KAREN CORBIN                                                                                         3222

Part I        State and Local Income Tax Refunds from 2020 Tax Returns

 1      (a)           (b)             (c)              (d)               (e)              (f)              (g)
       State        Refund        Estimated         Extension          Total            Refund           Refund
        or          Amount         Tax Paid         Payments        Payments         Allocated to     Allocated to
       Local                         After                              and          Column (c)       Column (d)
       Code                       12/31/2020                        Withholding

     IL              3,935.                                             6,886.




     Totals          3,935.                                             6,886.

 2     Total state and local refunds. Total line 1 column (b).                                            3,935.
 3     Refund allocated to tax paid after 12/31/2020. Total line 1 columns (f) and (g).
       (Include net tax paid after 12/31/2020 on Schedule A, line 5a.)
 4     Net refund. Line 2 less line 3.                                                                    3,935.

Part II       Recovery Amount

The recovery amount is the state and local income tax deducted in 2020 refunded in 2021.
 5   Total state and local income tax deduction from line 5a of your 2020 Schedule A                      6,886.
 6   Recovery amount. Lesser of line 4 or line 5.                                                         3,935.

Part III      Recovery Exclusion

The recovery exclusion is the part of the recovery amount which did not reduce tax in 2020.
 7   Recovery exclusion from sales tax deduction, SALT limitation and standard deduction:
   a Allowable itemized deductions, from 2020 Schedule A, line 17                                       43,778.
   b Allowable itemized deductions, refigured by excluding recovery amount:
      (1) Refigured state and local tax deduction (Schedule A, line 5a):
          (a) Refigured state income tax deduction                                 2,951.
          (b) Sales tax deduction                                                  1,315.
          (c) Refigured deduction. Larger of (a) or (b)                            2,951.
      (2) Refigured total itemized deductions                                     43,778.
      (3) Refigured allowable itemized deductions from line 7b(2)                                       43,778.
   c 2020 standard deduction based on 2020 filing status and deductions.                                14,050.
   d Larger of lines 7b(3) or 7c                                                                        43,778.
   e Subtract line 7d from line 7a                                                                           0.
   f Subtract line 7e from line 6                                                                        3,935.
 8   Recovery exclusion from negative taxable income. If 2020 taxable income
      was negative, enter here as a positive number, else enter zero.                                              0.
 9   Recovery exclusion from alternative minimum tax. If no alternative minimum
     tax (AMT) in 2020 enter zero. If did pay AMT in 2020, enter amt from line 24                                  0.
10   Recovery exclusion from unused tax credits. If no unused credits in 2020,
     enter zero. If there were unused credits in 2020, enter amount from line 35.                             0.
11   Total recovery exclusion. Add lines 7f, 8, 9, and 10.                                                3,935.

Part IV       Taxable Refund

The recovery amount less the recovery exclusion is a taxable refund.
12   Taxable refund from 2020. Line 6 less line 11.                                                                0.
13   Total taxable refunds from 2019 or prior tax returns. Total line 36 column (d).
14   Total taxable refunds. Add lines 12 and 13. Enter here and on Schedule 1, line 1                              0.
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Smart Worksheets from your 2021 Federal Tax Return

SMART WORKSHEET FOR: Schedule A: Itemized Deductions

                                         State and Local Taxes Smart Worksheet

        Enter sales tax information below. The greater of sales taxes from line I plus line J, or income taxes
        on line K, will flow to line 5. See Help.

         A     Income from Form 1040, line 7                                                               29,749.
         B     Nontaxable income entered elsewhere on return                                               24,754.
         C     Available income: 2020 refundable credits in excess of tax                                        0.
         D     Enter any additional nontaxable income
         E     Total available income for sales taxes                                                      54,503.
          F    Sales tax table information:
        Enter total (combined) state and local sales tax rate in column (d) for each state listed in column (a).
        If AZ, CO, LA, MS, NY or SC column (a):
             QuickZoom to Misc Global Options to enter default locality
         or Double-click in column (d) to select your locality for each state entered.

         (a)       (b)           (c)         (d)         (e)          (f)        (g)          (h)            (i)
         ST     Lived in      Lived in     Enter        State       Local       State        Local        Prorated
                 State         State        Total        Tax         Tax        Table        Sales        or Total
                 From            To       Tax Rate     Rate (%)    Rate (%)    Amount        Taxes        Amount
        IL     01/01/21 12/31/21           9.2500      6.2500      3.0000         575.          282.             857.




               Total general sales taxes from table                                         857.
         H     Enter additions to table amount (motor vehicle, boat)
          I    Total sales taxes from table plus additions to table amount                                       857.
         J     Enter actual sales taxes paid (in lieu of table amount)
         K     Total income taxes paid                                                                     9,526.
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SMART WORKSHEET FOR: Schedule A: Itemized Deductions

                                  Mortgage Interest and Points Smart Worksheet

         A Enter a description and an amount for fully deductible mortgage interest and points. Check the
           box if the mortgage was sold to another lender, or the mortgage has been paid off; the
           lender’s name will not transfer to next year’s return.
           Check the box if the mortgage interest and/or points are not reported on Form 1098.
           Note: When the points must be deducted over the life of the loan, enter this information on
           the Other Points Smart Worksheet.
           If the interest deduction may be limited, enter all information on the Deductible Home Mortgage
           Interest Worksheet instead.
           QuickZoom to Deductible Home Mortgage Interest Worksheet

                       Lender’s Name/Description                Deductible            Fully         Paid      Not
                                                                Mortgage            Deductible      Off       on
                                                                 Interest             Points                 Form
                                                                                                             1098



             RUSHMORE LOAN MANAGEMENT                                 2,497.




SMART WORKSHEET FOR: Schedule A: Itemized Deductions

         A     Adjust Home mortgage interest and points reported on Form 1098:
             1 Total home mortgage interest and points from 1098’s from detail.                              2,497.
             2 Enter amount to deduct on Line 8a if different.
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SMART WORKSHEET FOR: Schedule A: Itemized Deductions

                                        Cash Contributions Smart Worksheet
         A Miles driven for charitable purposes:
           1 All miles for:
              a To perform charitable service
              b To deliver noncash contributions
              c Total. Add lines a and b
         B Cash contributions, enter name of charity, type of charity, and amount:

                                        Name of charity                               Type           Amount

            THE POTTER'S HOUSE                                                                         1,816.
            From K-1: CORBIN CORBIN FUNERAL CHAPELS, INC.                             A                1,185.




SMART WORKSHEET FOR: Schedule B: Interest and Dividend Income

                                           Interest Income Smart Worksheet

               Payer’s Name                 Box 1             Box 2        Box 3             Box 8            Box 9

         Double-Click on Payer to                            Early      US Savings                            Private
           enter additional info     Interest Inc.   Typ    Withdraw    Bond/Treas.   Tax-exempt      ST      Activity
                                        OID Int*     Int*   Penalty     Obligations     Interest      ID       Bond

        STATE FARM LIFE INSURANCE
                               1,250.
        NEW YORK LIFE
                                  130.
        CHASE
                                   80.
        BMO HARRIS
                                   50.
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SMART WORKSHEET FOR: Schedule B: Interest and Dividend Income

                                                                  Dividend Income Smart Worksheet

                      Payer’s Name                             Box 1a                    Box 1b                Box 2a               Box 2b         Box 3
                 Double-Click on Payer                      Total Ordinary              Qualified            Capital Gain          Unrecap.     Nondividend
                 to enter additional info                     Dividends                 Dividends            Distribution          Sec 1250     Distributions

              MET LIFE C0010874939
                                                                           258.                258.
              MET LIFE C0010874921
                                                                           298.                298.
              MET LIFE C0010873673
                                                                             19.                 19.




SMART WORKSHEET FOR: Schedule E: Supplemental Income and Loss -- Form 6198 (S Corporation Schedule K-1 CORBIN CORBIN FUNERAL CHAPELS, INC. XX-XXXXXXX): At-Risk Limitations

                                                                      Disallowed Losses Smart Worksheet


                                                                                                     Total            Disallowed               Allowed
                                                                                                     Loss                   Loss                  Loss

                 A       Line 1             Ordinary loss                                        -372,938.              250,895.              -122,043.
                 B       Line 2a            Schedule D loss
                 C       Line 2b            Form 4797 loss
                 D       Line 2c            Other loss
                 E       Line 3             Other loss from K-1
                 F       Line 4             Other deduction or loss

                 G       Total                                                                   -372,938.              250,895.              -122,043.

                 H       Income                                                                                                                            0.
                     I   Deductible Loss (Form 6198, line 21)                                                                                 -122,043.

                  J      Disallowed Percentage                                                                              67.2753
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SMART WORKSHEET FOR: State and Local Income Tax Refund Worksheet

                                   2020 Federal Form 1040 Information Smart Worksheet

           Use this worksheet to compute taxable refund amount?                             X Yes         No
           If no, skip this Smart Worksheet. Total refunds from Line 1 column (b) will be reported as income.

        A Did you itemize deductions in 2020?                                       X Yes      No
          If no, none of your refund from 2020 is reportable as income. Do not complete the
          remainder of this worksheet.
        B Enter the amount from your 2020 Schedule A, line 5a, State and local tax                              6,886.
          If none, enter zero, and do not complete the remainder of this worksheet.
        C Which type of taxes were deducted on your 2020 Schedule A, line 5a?
           1 Income taxes                                                                    X
           2 General sales taxes (2020 Schedule A, box 5a, was checked)
           3 Not applicable
          If general sales taxes were deducted, none of the refund from 2020 is reportable
          as income. Do not complete the remainder of this worksheet.
        D Enter the deduction for general sales taxes that could have been taken in 2020
          if you know that amount                                                                               1,315.
        E What was your filing status for 2020?
              X Single
                  Married filing jointly
                  Married filing separately
                  Married filing separately and your spouse itemized deductions
                  Head of household
                  Qualifying widow(er)
        F Could be claimed as a dependent by someone else in 2020?                     Yes X No
        G If yes, enter your earned income for 2020
          Enter the following amounts from your 2020 Form 1040:
        H Line 11, Adjusted gross income                                                                   113,766.
        I Line 12, Itemized deductions or standard deduction                                                43,778.
        J Total number of boxes checked under Standard deduction for age and blindness            1
        K Line 15, Taxable income. Line K less line L (if less than zero, enter as negative)                69,988.
        L Line 16, Tax                                                                                      11,147.
        M Sch 2, Line 1, Alternative minimum tax                                                                 0.
        N Sch 2, Line 2, Excess advance premium tax credit repayment
        O Line 18, Total tax before credits                                                                 11,147.
        P Line 22, Total tax after credits                                                                  11,147.
          Enter the following amounts from your 2020 Schedule A, Itemized Deductions:
        Q Line 7, Taxes                                                                                     10,000.
           1 Line 5b, State and local real estate taxes                                                     17,469.
           2 Line 5c, State and local personal property taxes                                                    0.
           3 Line 5e, State and local taxes after limitation                                                10,000.
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Additional information from your 2021 Federal Tax Return

Schedule A: Itemized Deductions
Ln 5b(c), Other RE taxes                                                      Itemization Statement
                               Description                                           Amount
2613 SPRING HILL, KISSIMMEE                                                                     3,159.
2609 SPRING HILL KISSIMMEE                                                                      3,560.
                                                                   Total                           6,719.

Schedule E: Supplemental Income and Loss
Line 19 Other Expenses: Property (1)                                        Continuation Statement
                              Expense Description                                         Amount
GROUNDS UPKEEP                                                                                  3,980.
SECURITY                                                                                       38,053.
                                                                           Total               42,033.

Schedule E: Supplemental Income and Loss -- Form 6198 (S Corporation Schedule K-1 CORBIN
CORBIN FUNERAL CHAPELS, INC.                ): At-Risk Limitations
Line 7                                                                     Itemization Statement
                               Description                                           Amount
TAX EXEMPT INCOME                                                                            121,732.
                                                                   Total                       121,732.

Schedule E: Supplemental Income and Loss -- Form 6198 (S Corporation Schedule K-1 CORBIN
CORBIN FUNERAL CHAPELS, INC.                ): At-Risk Limitations
Line 9                                                                     Itemization Statement
                               Description                                           Amount
50% M&E                                                                                         2,058.
CHARITY                                                                                         1,185.
                                                                   Total                           3,243.
